Case 1:18-CV-02004-.]E.]-EBC Document 1 Filed 10/05/18 Page 1 of 5
FORM TO BE USED BY A PRISONER IN FILING A CIVIL RIGHTS COMPLAINT

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

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` (Nnme ofPlaintifl`) §.. (lnmate Numbel:)

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(.\ddress) ` :
` (2)

1 (Name of Plaintifl) (Inmate Number) / ; IYO\] /RO@ jo

` 1 : (Case Numb'er) '
l (Address)

 

 

l (Each named party must be numbered, : 'i
§ and all names must be printed or typed)

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CIVIL COMPLAINT

 

 

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(Names of Defend:grjs) : _ OCT 0 5 2013
l z 10
` (Each named party must be numbered, : m
- and ali names must be printed or typed) : D

1 TO BE FILED UNDER: \/' 42 U.S.C. § 1983 - STATE OFFICIALS
l 28 U.S.C. § 1331 - FEDERAL OFFICIALS
I. PREVIOUS LAWSUITS

A. If you have filed any other lawsuits in federal court while a prisoner, please list the caption and case

number including year, as well as the name of the judicial officer to whom it was assigned:

 

 

 

 

 

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_ Case 1:18-cV-02004-.]E.]-EBC_ Document 1 Filed 10/05/18 Page 2 of 5
lI. EXHAUS'I`ION OF ADMIN}STRATIVE REMEDIES

[n order to proceed in federal court, you must fully exhaust any available administrative remedies as to
each ground on which you request action.

A. Is there a prisoner grievance procedure available at your present institution? t/' Yes No

B. Have you li.illy exhausted your available administrative remedies regarding each cf your present
claims'?\/ Yes No

C. ff your answer to “B” is E:

l. What steps did you take? §§ law M
, MBMAS_MM mm steam wm

} : 2. What was the result? G('i c<§llc>..,`\

1 assets

D. If your answer to “B” is _I}I_o_, explain why not:

 

 

 

III. DEFENDA.NTS

(1) Narne of first defendant JUR) a L\)E:\`Z.§,\¢

Employed M.SE`SBM _____ atUl/B$IM_&_SDUONS
Mailing add-WSS: EHMMM&M

'(2) Name of second defendant

 

 

 

 

 

Employed as . at
Mailing address:

(3) Nanie of third defendant
Employed as at
Mailing address:

 

(List any additional defendants, their employment, and addresses on extra sheets if necessary)
IV. STATEMENT OF CLAIM

(Statc here as briefly as possible the facts of your case. Describe how each defendant is involved, including

dates and places. Do not give any legal arguments or cite any cases or statutes. Attac`n no more than three
extra sheets if necessary.)

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ldeclare under penalty of perjury that the foregoing is true and correct.

Signed this a fm day of <SKYEJ‘/R)€Q_ , 20 l% .

   

 

(Signature of Plaintiff)

     

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